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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                  No. 4:11CR00156-19 JLH

JOSHUA A. HAWLEY                                                                  DEFENDANT

                                             ORDER

       On September 4, 2013, the Court convened for a hearing on the motion to revoke the

probation of Joshua A. Hawley. Hawley appeared in person and with his lawyer, Assistant Federal

Public Defender Justin T. Eisele. The prosecution was represented by Assistant United States

Attorney Stephanie G. Mazzanti. Hawley admitted to the violations alleged in the motion to revoke

and requested that sentencing be postponed for 90 days to give him an opportunity to demonstrate

that he can comply with the conditions of release. The government agreed with Hawley’s request.

This matter will therefore be held in abeyance for a period of 90 days. The Court directs the

probation office to submit a report after 90 days stating whether Hawley has been in compliance

with his conditions of supervised release.

       IT IS SO ORDERED this 4th day of September, 2013.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
